
Nicholson, C. J.,
delivered the opinion of the Court.
J. G. Eerguson, as administrator of J. D. Ferguson, sued Richard Staggs, for converting to his own use various articles of personal property which had belonged to J. D. Ferguson, among which, were several articles exempt by law from execu*691tion. The property converted belonged to J. D. Ferguson at his death, and the exempted ardides belonged of right to his widow and child. The property being in the possession of defendant, when the administrator was appointed, the articles exempted could not he selected by the widow, or sot apart to her by the administrator. He sued the defendant for all the personal property, as well that exempt as that not exempt.
The circuit judge charged the jury, that the administrator had a right to recover the value of all the articles converted, whether exempt or not. There was no error in this holding. Upon the death of the intestate, and the appointment of the administrator, the title to all personal property vested in him. If he had taken the property into his possession, it would have been his duty to set apart 'and deliver to the widow the exempted articles, and upon so doing, the title would have vested in her, in trust for herself and child.
But as the property was in possession of the defendant, and claimed by him, the exempted articles could not he set apart. The title to all of the property being in the administrator, it was his right and his duty to sue for all together, and upon recovering their value, then to allot to the widow the value of the exempted articles.
There was no error in-the charge, and the judgment is affirmed.
